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     Attorneys for Defendant
 6   Samsung Electronics America, Inc.
 7
                           UNITED STATES DISTRICT COURT
 8
                         CENTRAL DISTRICT OF CALIFORNIA
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11   PAULA MURRAY, on Behalf of Herself            Case No. 8:21-cv-01757-JVS-DFM
     and All Others Similarly Situated,
12                                                 ORDER GRANTING
                       Plaintiff,                  STIPULATION TO TRANSFER
13                                                 VENUE
           v.
14
     SAMSUNG ELECTRONICS
15   AMERICA, INC.,
16                     Defendant.
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                    [PROPOSED] ORDER GRANTING STIPULATION TO TRANSFER VENUE,
                                      No. 8:21-cv-01757-JVS-DFM
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 1                                         ORDER
 2         Having considered the stipulation of Plaintiff Paula Murray and Defendant
 3   Samsung Electronics America, Inc. (“Samsung”), and good cause appearing therein, the
 4   stipulation is GRANTED. Samsung’s deadline to answer or otherwise respond to the
 5   Complaint is hereby STAYED pending further order of the transferee court; and this
 6   action is hereby TRANSFERRED to the U.S. District Court for the Southern District of
 7   Texas.
 8         It is so ORDERED.
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10   Dated: December 25, 2021
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12                                                ________________________________
                                                  HON. JAMES V. SELNA
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                                                  UNITED STATES DISTRICT JUDGE
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                    [PROPOSED] ORDER GRANTING STIPULATION TO TRANSFER VENUE,
                                      No. 8:21-cv-01757-JVS-DFM
